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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                      X

STEVE SANDS,                                     Docket No.: 1:17-cv-09215 (LAK)

              Plaintiff,

- against -

BAUER MEDIA GROUP USA, LLC,

              Defendant.
                                      X

  MEMORANDUM OF LAW IN SUPPORT OF BAUER MEDIA GROUP USA, LLC'S
       MOTION FOR SANCTIONS AND/OR SECURITY FOR COSTS




                                     MILLER KORZENIK SOMMERS RAYMAN LLP
                                     David S. Korzenik
                                     Terence P. Keegan
                                     The Paramount Building
                                     1501 Broadway, Suite 2015
                                     New York, New York 10036
                                     Tel (212) 752-9200
                                     dkorzenik@mkslex.com
                                     tkeegan@mkslex.com
                                     Attorneys for Defendant
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  MEMORANDUM OF LAW IN SUPPORT OF BAUER MEDIA GROUP USA, LLC'S
       MOTION FOR SANCTIONS AND/OR SECURITY FOR COSTS


        Defendant Bauer Media Group USA, LLC ("Bauer") respectfully submits this

memorandum of law in support of its motion 1) for sanctions under Fed. R. Civ. P. 16, 26, and

37 — specifically, to dismiss Plaintiff Steve Sands' ("Sands") complaint, or 2a) in the alternative,

to strike portions of Sands' testimony and evidence in support of summary judgment — and/or

2b) for a bond as security for costs and fees under Local Civil Rule 54.2. 1

                                  FACTUAL BACKGROUND

The Photos — and the "Secret Project"

       This lawsuit is over two photographs ("Photos") that appeared uncredited on a widely

viewed, public Instagram social media profile for the model and actress Emily Ratajkowski

("Ratajkowski Profile") on or about January 20, 2017. Answer (Dkt. No. 10), 114 and Ex. B (Dkt.

No. 10-2), at 2,1. 2

       The Photos' appearance on the Ratajkowski Profile teased the model's role in a "Secret

project in NYC today. . . coming to you March 2017." Answer Ex. B, at 3. The Photos depicted




1 Sands' summary judgment submissions (Dkt. Nos. 25-30), and the most recent letter of Sands'
counsel to the Court (Dkt. No. 34), make clear why such sanctions are warranted instead of (or in
addition to) the security for costs that Bauer originally advised Sands and the Court it would seek
prior to Sands' summary judgment filings (Dkt. No. 23).

2 The Photos are still available on the Ratajkowski Profile, and still appear without attribution to
Sands. See gemrata, INSTAGRAM, https://www.instagram.com/p/BPgBEoxDTm4/ (Jan. 20,
2017) (last visited Nov. 2, 2018); gemrata, INSTAGRAM, https://wwvv.instagram.com/p/
BP0iiGaD8ZN/ (Jan. 28, 2017) (last visited Nov. 2, 2018).
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Ratajkowski standing in the middle of a New York City street and doorway in nothing but boots

and underwear. Id. at 2, 1. 3

       The Photos, and their appearance on the Ratajkowski Profile, made news online. The

Bauer-owned website FHM.com first reported on the Photos' appearance on or about the same

day they appeared on the Ratajkowski Profile. See Answer Ex. A (Dkt. No. 10-1), at 1 ("Back in

January. . ."). When fashion brand DKNY announced on March 13, 2017 that the "secret

project" was a new advertising campaign for lingerie starring Ms. Ratajkowski, 4 FHM.com

published another article, linking back to the Ratajkowski Profile and to its own January 20,




3 Ms. Ratajkowski herself reportedly has employed the Ratajkowski Profile as a tool for both
self-expression and self-promotion. According to an April 2016 report by fashion business
magazine WWD, "who [Ms. Ratajkowski] is, at least to the public, is most visible on Instagram,
her account salivated over by the male masses." At that time, the Ratajkowski Profile reportedly
had 5.7 million followers. But "[h]er goal. . . is to use her visibility on the platform to make her
mark on the topic of feminism." Ms. Ratajkowski was quoted by WWD as saying, "My response
to people stating I post oversexualized images is that it's my choice and there's an ownership and
empowerment through them." Taylor Harris, "Emily Ratajkowski Takes on Feminism — One
Selfie at a Time," WWD, Apr. 6, 2016, available at https://wwd.com/eye/people/emily-
ratajkowski-feminism-instagram-10404419/ (last visited Nov. 2, 2018).

4In a publicly available press release announcing Ms. Ratajkowski as the star of its new ads as
well as a "fashion film," DKNY stated:

       In the film, Emily wakes, exiting her apartment to walk her dog, wearing nothing
       more than her DKNY bra and briefs. And — because anything can happen in New
       York — she steps onto the streets, greeting stunned neighbors, onlookers and
       viewers with, "Good Morning, New York."

The DKNY press release also listed the Ratajkowski Profile as part of the campaign's
"Social Media" support. Like the Ratajkowski Profile, DKNY gave no attribution to
Sands. DKNY, "DKNY Debuts Emily Ratajkowski for Spring/Summer 2017 Intimates,
Hosiery and Sleepwear Campaign," PR NEWSWIRE, Mar. 13, 2017, available at
https://www.prnewswire.com/news-releases/dkny-debuts-emily-ratajkowski-for-
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visited Nov. 2, 2018).


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2017 story. See Answer Ex. A, at 1. The Photos also appeared on the March 13, 2017

FHM.com article page. Id. at 2, 3.

       Of the uncredited Photos, FHM.com reported, "We knew the pictures were a part of [Ms.

Ratajkowski' s] commercial for DKNY." Id. at 1. The article credited and linked to the

Ratajkowski Profile as the source for both Photos — as well as a "film" posted that day. Id. But

eight months later, Sands sued Bauer, alleging the Photos were his — not DKNY's — and that

Bauer's use of them was unlicensed. Complaint (Dkt. No. 1), ¶¶7-8, 11-12.

       Sands' Complaint ignored FHM.com's disclosed source for the Photos — the Ratajkowski

Profile — and made no mention that they had been posted to that Profile without any attribution to

him, one seemingly within hours of its being taken. Compare Answer Ex. B, at 2 ("Shooting

today in NYC mid-January in 40 degree weather in MY UNDERWEAR. Working hard tor)

(dated January 20, 2017), with Complaint Ex. A (bottom Photo).

       From Bauer's standpoint, if the appearance of the Photos with the FHM.com article was

not a clear fair use of publicity images from an advertising campaign, it was an innocent mistake.

Key then to vindicating fair use, or to establishing innocent infringement in its absence — not to

mention defending against Sands' claims of willful infringement and actual damages (Complaint

   16-18) — was Bauer's discovery of Sands' licensing history for the Photos: who he licensed

them to, for what purpose, and for how much.

Procedural History

       Sands' counsel represented at the parties' initial conference that Sands had such

information. Declaration of Terence P. Keegan ("Keegan Dec!.") ¶4. Relying on that



5 As Bauer advised in a previous filing, all editorial content on the FHM.com website has been
discontinued, and the article at issue was taken down on or about September 5, 2018. See Dkt.
No. 23, at 4 n.5.

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representation, Bauer stipulated to a schedule for written discovery and summary judgment

motion practice on a limited set of issues (fair use among them). Dkt. No. 16. As Bauer's

counsel stated then, such a streamlined case management plan was critical to managing the cost

of this litigation. See Letter Motion of Bauer Counsel dated Feb. 20, 2018 (Dkt. No. 12) ("In an

effort to minimize costs in this action, we request the Court so-order a schedule for written

discovery, and a motion for summary judgment or partial summary judgment, on a limited set of

issues.") 6

        But Sands never listed names of licensees or agents in any Rule 26 disclosures. Keegan

Decl. ¶8. And among hundreds of documents he produced, not one pertained to licensing of the

Photos. Id. ¶11.

        Instead, one month after discovery had ended (see Dkt. No. 21), Sands premised a motion

for partial summary judgment on an assertion that he had licensed the photos to two agencies —

Getty Images and Matrix Pictures — on or about January 20, 2017 (i.e., the same day he took

them, and the same day they appeared on the Ratajkowski Profile). Motion for Partial Summary

Judgment dated Sept. 7, 2018 (Dkt. No. 25); Declaration of Steve Sands in Support (Doc. No.

27) ("Sands Decl."), at ¶114, 6-7, 12-13. He even exhibited four pages of material from one of the

agencies, bearing bates stamps as if they had been timely produced to Bauer — when they had

never been produced at all. Sands Decl. Ex. C (Dkt. No. 27-3); Keegan Decl. ¶14.

        Regardless, Sands' declaration still did not reveal whether either agency ever actually

licensed either Photo, to whom it licensed either Photo, or for how much.




6 The Court too had recognized the suitability of this case to a such a streamlined plan, directing
the parties to contact the Court within two weeks of the initial conference to set "a motion or trial
date." See Minute Entry for proceedings dated Feb. 6, 2018 in docket.

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Sands' Counsel Disclaims the Rule 16 Plan and Its Rationale

       In an October 23, 2018 letter to the Court, Sands' counsel didn't even deny the

nondisclosures. Instead, he brazenly asserted that their production of 630 pages of purported

"benchmark licensing fee history" — none of it pertaining to the Photos — somehow fulfilled

Sands' Rule 26 duties. Letter Motion of Sands' counsel (Dkt. No. 34), at 1; Keegan Decl. ¶11.

He claimed Bauer never "bothered to subpoena the third-party licensing agencies," even though

Sands never identified them in any disclosures or discovery. Dkt. No. 34, at 2; Keegan Decl. ¶8.

And he claimed Bauer did not "bother to depose Mr. Sands," even though the parties had only

agreed to written discovery in their Rule 16 conference and case management plan. Dkt. No. 34,

at 2; see Joint Letter Motion for Discovery and Summary Judgment Motion Schedule (Dkt. No.

16), so-ordered May 24, 2018 (Dkt. No. 17); Keegan Decl. ¶5.

       Sands and his counsel are well aware of their litigation responsibilities. According to a

search of PACER records, Sands' action against Bauer is one of 50 copyright cases against

media organizations that he and his counsel have commenced in this District since 2016. Sands'

counsel has brought more than 700 copyright actions in the District over the same period. Yet

here, they frustrated discovery of the true nature of the Photos and their licensing history at every

turn. Even at this late stage of summary judgment, Sands expects he can trickle out a bit of the

truth and keep the rest from view.

       Sands and his counsel have magnified Bauer's costs and prejudiced its defenses. All over

two Photos whose actual licensing history and value Sands kept from Bauer and the Court, while

he continued to demand an outsized five-figure settlement.




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                                            ARGUMENT

        The misleading and evasive conduct of Sands and his counsel warrants dismissal of his

action against Bauer as a sanction under Fed. R. Civ. P. 16(f), Fed. R. Civ. P. 37(b) and/or Fed.

R. Civ. P. 37(c). In the alternative, the Court should sanction Sands by striking testimony and

exhibits from his declaration in support of summary judgment, and precluding him from

asserting that the Photos had any licensing history or value — and require Sands to show why,

before proceeding, he should not have to post a bond under Local Civil Rule 54.2 in the amount

of $50,000 to satisfy any judgment with costs in Bauer's favor, including costs and attorney's

fees under 17 U.S.C. § 505.

   I.       THE COURT SHOULD SANCTION SANDS UNDER RULES 16 AND 37

        Under Fed. R. Civ. P. 16(f) (emphasis added),

        the court may issue any just orders, including those authorized by Rule
        37(b)(2)(A)(ii)-(vii), if a party or its attorney: (A) fails to appear at a scheduling
        or other pretrial conference; (B) is substantially unprepared to participate — or
        does not participate in good faith — in the conference; or (C) fails to obey a
        scheduling or other pretrial order.

The "just orders" under Rule 37 include "prohibiting the disobedient party from supporting or

opposing designated claims or defenses, or from introducing designated matters in evidence;"

"striking pleadings in whole or in part;" and "dismissing the action or proceeding in whole or in

part." Fed. R. Civ. P. 37(b)(2)(A)(ii)-(ii), (v).

        The purpose of Rule 16 sanctions "is three-fold: (1) to ensure that a party will not benefit

from its own failure to comply; (2) to obtain compliance with the particular order issued; and (3)

to serve as a general deterrent effect on the case and on other litigants as well." Petrisch v. JP

Morgan Chase, 789 F. Supp. 2d 437, 455 (S.D.N.Y. 2011) (citation omitted).




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       In addition, under Fed. R. Civ. P. 26(a)(1)(A), as part of his initial disclosures, "a party

must, without awaiting a discovery request, provide to the other parties:

       (i) the name and, if known, the address and telephone number of each individual
       likely to have discoverable information—along with the subjects of that
       information—that the disclosing party may use to support its claims or defenses,
       unless the use would be solely for impeachment; . . . [and]

       (iii) a computation of each category of damages claimed by the disclosing party—
       who must also make available for inspection and copying as under Rule 34 the
       documents or other evidentiary material, unless privileged or protected from
       disclosure, on which each computation is based, including materials bearing on
       the nature and extent of injuries suffered[.]

A party is also required to supplement or correct such initial disclosures — or as also relevant

here, responses to requests for production or requests for admission — "in a timely manner if the

party learns that in some material respect the disclosure or response is incomplete or incorrect,

and if the additional or corrective information has not otherwise been made known to the other

parties during the discovery process or in writing." Fed. R. Civ. P. 26(e)(1)(A).

       If a party fails to provide information or identify a witness as required by Rule
       26(a) or (e), the party is not allowed to use that information or witness to supply
       evidence on a motion, at a hearing, or at a trial, unless the failure was
       substantially justified or is harmless. In addition to or instead of this sanction, the
       court, on motion and after giving an opportunity to be heard:

       (A) may order payment of the reasonable expenses, including attorney's fees,
       caused by the failure;

       (B) may inform the jury of the party's failure; and

       (C) may impose other appropriate sanctions, including any of the orders listed
       in Rule 37(b)(2)(A)(i) — (vi).

Fed. R. Civ. P. 37(c)(1).

"[The imposition of the sanctions pursuant to Rule 37 is a matter committed to the discretion of

the Court." North American Karaoke-Works Trade Ass 'n, Inc. v. Entral Grp. Intl, No. 06-civ-

5158-LTS-MHD, 2007 WL 844689, at *3 (S.D.N.Y. Mar. 16, 2007) (denying reconsideration of



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dismissal of action). While "the Second Circuit has emphasized that 'drastic' penalties, such as

dismissal 'should be imposed only in extreme circumstances.' . . . In Second Circuit cases in

which a Rule 37 dismissal was affirmed, bad faith and willful intransigence on the part of

counsel were noted." Id. (citation omitted). See, e.g., Valentine v. Museum of Modern Art, 29

F.3d 47, 50 (2d Cir. 1994) (affirming Rule 37 dismissal). "[W]here counsel clearly should have

understood his duty to the court the full range of sanctions may be marshalled. Indeed, in this

day of burgeoning, costly and protracted litigation courts should not shrink from imposing harsh

sanctions where, as in this case, they are clearly warranted." Cine Forty-Second St. Theatre

Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1068 (2d Cir. 1979) (precluding plaintiffs

damages proof).

       The conduct of Sands and his counsel here smacks of what one Court held to be "flagrant

bad faith and a callous disregard for the rules." Ebewo v. Martinez, 309 F. Supp. 2d 600, 607 n.2

(S.D.N.Y. 2004). In Ebewo, the court excluded from consideration on summary judgment an

affidavit that a plaintiff had submitted from a previously undisclosed expert, where the plaintiff

"had it within his power to collect all the evidence required to prevail on his claim before the

close of discovery," but instead filed the affidavit only during the parties' motion briefing. Id at

607. Not only did the court find that the delay prejudiced the defendant. In a "simple" case

where the issues were "straightforward" and plaintiffs factual proof had been "clear" since the

pleadings stage, the Ebewo court held that the late evidence was "the type of 'sandbagging' of

adversaries that Rule 37(c)(1) was designed to prevent." Id.

       The Ninth Circuit also has enforced sanctions for willful or bad faith violations of Rule

26 in a copyright case concerning the nondisclosure of crucial evidence. See BWP Media USA v.

Urbanity, LLC, 696 F. App'x 795 (9th Cir. 2017). In BWP, the plaintiff repeatedly ignored the




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defendant's requests for "screen grabs" that, by plaintiffs own admission, would have been

necessary to prove its claim. Id. at 796-97. Although Rule 26 does not require the affirmative

production of documents, the Ninth Circuit noted that "[i]f.. . . only the description is provided,

the other parties are expected to obtain the documents desired by proceeding under Rule 34 or

through informal requests." Id. at 797 (citing advisory committee's note to 1993 amendments).

The appellate court held that "the district court thus did not err in concluding that BWP violated

[Rule 26] when it waited to produce or even reveal the existence of additional evidence

supporting its claims until it filed its motion for summary judgment." Id

       Here, the Court should find Sands liable for such willful or bad faith violations. Bauer

has asked for the Photos' licensing history from the outset of this case through formal and

informal requests alike. See Keegan Decl. 13. As noted above, Sands' counsel stated that he had

a licensing history for the Photos and that he would provide it. Keegan Dec1.14. Evidence of

the licensing history was essential to Bauer's fair use defense: specifically, to ascertain the nature

of the Photos (e.g., whether they were for an editorial or marketing/publicity purpose), and the

effect of their use upon any potential market. See 17 U.S.C. § 107(2), (4). Instead, Sands

produced hundreds of pages of licensing records for other photographs, predating the two Photos

at issue here. Only on his motion for summary judgment did Sands assert that he had licensed

the Photos to two stock photography agencies, Getty Images and Matrix Pictures, on the same

day he purported to take them. Sands Decl. 1112-14. He even exhibited four pages of material

from Matrix Pictures, bearing bates stamps as if they had been timely produced to Bauer — when

they had never been produced at all. See Sands Decl. Ex. C; Keegan Decl. 114. And Sands'

counsel represented this information, which Bauer had never seen, as "material facts as to which

Plaintiff contends there is no genuine issue to be tried." Plaintiffs Statement Pursuant to Local




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Rule 56.1 dated Sept. 7, 2018 ("Sands 56.1"), 11116-18 (Dkt. No. 30). Sands' revelation of these

"facts" indicates he has other information concerning to whom Getty Images and Matrix Pictures

licensed the Photos — and for how much. But he has never revealed that information. 7

       This Court should sanction Sands for engaging in the same kind of willful

"gamesmanship" at play in BWP. 696 F. App'x at 797. Sands forced Bauer to incur hours

analyzing discovery that proved not to pertain to the Photos at all. He frustrated Bauer's claim

analysis and crippled its defenses, at a point when the parties and the Court expected this case to

be ready for summary disposition. It is too late, and too many hours have been needlessly spent,

to find out exactly how the Photos came to appear uncredited on the Ratajkowski Profile to

publicize her "secret project." Sands and his counsel could have participated in discovery in

good faith, but didn't. Accordingly, this Court should dismiss this action altogether. 8 In the

alternative, given that Sands has proffered this information for the first time on summary

judgment, seven months into this "straightforward" case and more a month after discovery had

closed (Ebewo, 309 F. Supp. 2d at 608), the Court should strike from the record any evidence of




7 In the absence of licensee information from the stock photography agencies, Sands' carefully
worded declaration and Rule 56.1 statement — which assert that he "licensed" one or both Photos
to Getty Images and Matrix Pictures, but that he "never licensed the Photographs to Emily
Ratajkowski" and he "never granted DKNY permission to distribute the Photographs as part of
its commercial advertising campaign" — seem to leave open the possibility that one of the
agencies did. See Sands 56.1, at 11116-17, 19, 21; Sands Deel. 12-14.

8 Dismissal as a sanction would "advance[] the basic purposes of Rule 37, while respecting the
demands of due process." Penthouse Intern., Ltd. v. Playboy Enterprises, Inc., 663 F.2d 371,
387 (2d Cir. 1981). See also National Hockey League v. Metropolitan Hockey Club, Inc., 427
U.S. 639, 640, 96 S.Ct. 2778, 2780 (1976). Reversing the Court of Appeals below, the Supreme
Court upheld the district court's dismissal as sanction under Rule 37 where "the conduct of
counsel demonstrate[d] the callous disregard of responsibilities counsel owe to the Court and to
their opponents." Id. In the instant litigation, dismissal would not prejudice Sands' right to due
process. Sands has filed over 50 claims in this District, and his counsel, who has filed over 700
claims in this District, are well aware of their duties and obligations under the discovery rules.

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Sands' licensing the Photos, and preclude him from asserting that the Photos had any licensing

value.

            ABSENT DISMISSAL, THE COURT SHOULD ORDER SANDS TO SHOW
            WHY HE SHOULD NOT BE REQUIRED TO POST SECURITY FOR COSTS

         Rule 54.2 provides that the Court, "on motion or on its own initiative, may order any

party to file an original bond for costs or additional security for costs in such an amount and so

conditioned as it may designate." The costs for which security may be required under Rule 54.2

"include defendant's attorneys' fees, as Section 505 of the Copyright Act permits a prevailing

defendant to recover its reasonable attorneys' fees." Cruz v. Am. Broad. Cos., No. 17-cv-8794

(LAK), 2017 WL 5665657, at *1 (S.D.N.Y. Nov. 17, 2017); Kanongataa v. Am. Broad.

Companies, Inc., No. 16-cv-7382 (LAK), 2017 WL 4776981, at *2 (S.D.N.Y. Oct. 4, 2017); see

also Baker v. Urban Outfitters, Inc., No. 01-cv-5440 (LAP), 2004 WL 2546805, at *2 (S.D.N.Y.

Nov. 10, 2004), all' d, 249 F. App'x 845 (2d Cir. 2007).

         Courts consider several factors in determining whether a bond is warranted, including

"the financial condition and ability to pay of the party at issue; whether that party is a non-

resident or foreign corporation; the merits of the underlying claims; the extent and scope of

discovery; the legal costs expected to be incurred; and compliance with past court orders." Cruz,

2017 WL 5665657, at *1 (quoting Selletti v. Carey, 173 F.R.D. 96, 100-01 (S.D.N.Y. 1997),

aff'd in relevant part by 173 F.3d 104, 111 (2d Cir. 1999)). However, not every factor is

relevant to each case, and the court need not consider all factors. Kensington Int Ltd. v.

Republic of Congo, No. 03-cv-04578 (LAP), 2005 WL 646086, at *1 (S.D.N.Y. Mar. 21, 2005).

         The questionable merit of Sands' underlying claims; Sands' and his counsel's non-

compliance with so-ordered discovery in the instant case; and his counsel's non-compliance with

orders from other courts in this District all militate towards the conclusion that, in addition to



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imposing less harsh sanctions on Sands than dismissal under Rules 16 and 37, he should be

required to show why he should not have to post a bond for security before proceeding with this

litigation.

        A.     Sands' Claim Lacks Merit

        The lack of merit in Sands' claim warrants security for costs and fees. See Cruz, 2017

WL 5665657, at *1 ("Security has often been required where the merits of a plaintiffs case are

questionable and there is doubt as to the plaintiffs ability to satisfy any costs judgment that

ultimately may be imposed."). The publicly available online materials alone demonstrate the

newsmaking posts of the Photos on the Ratajkowski Profile, and FHM.com's editorial reporting

of the same. Uncredited as the Photos were, FHM.com did not believe and had no reason to

believe its use of the Photos constituted copyright infringement.

        Discovery revealed that Sands knew the Photos had been posted to the Ratajkowski

Profile with no attribution to him. The fact that the Photos were available to the author(s) of the

Ratajkowski Profile on or about the same day, at the same location, as part of the same

promotional event — in conjunction with the March 2017 FHM.com article's text showing that

the author believed both Photos were publicity materials supporting the DKNY campaign —

shows that the appearance of the Photos on its general-interest website "goes at least part of the

distance toward the conclusion of fair use." Cruz, 2017 WL 5665657, at *2; Answer at 1-2; ¶11.

("As this Court pointed out only recently, a use squarely within the preambulatory portion of

Section 107 of the Copyright Act—namely, "criticism, comment, [or] news reporting" — goes at

least part of the distance toward a conclusion of fair use." (emphasis added).)

        Yet Sands sued Bauer anyway for "willful" copyright infringement, "in disregard of and

indifference to Plaintiffs rights." Complaint ¶IJ 15-16. This unfounded assertion is undercut by




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and completely ignores FHM.com's express belief in its article that the Photos "were a part of'

Ms. Ratajkowski's "commercial for DKNY." Sands' summary judgment motion, despite his

counsel's casual reference to the case as a "willful copyright infringement action," presents no

evidence of any kind to the contrary. See Sands Memorandum of Law (Dkt. No. 26), at 1.

       Conspicuously absent from his Complaint, Sands completely omitted the text of the

article that accompanied the Photos on the FHM.com website. In doing so, he mischaracterized

the Photos' appearance with the FHM.com article by obscuring those elements of the article that

revealed its reporting and commentary nature. Compare Complaint Ex. B (Dkt. No. 1-2), with

Answer Ex. A (Dkt. No. 10-1).

       Bauer included a copy of the FHM.com article with the Photos in their full context as an

exhibit to its Answer. Dkt. No. 10-1. Bauer's pleading also detailed the facts summarized above

in support of its defenses of fair use reporting and/or implied license; additionally, the pleaded

facts established Bauer's assertion that if there was any infringement, it was innocent. See

Answer pp. 1-2; ¶11, Defenses Nos. 11-12, 19.

       B. Plaintiffs Failure to Comply with Court Orders

       Plaintiffs failure to comply to with past court orders — namely, the so-ordered discovery

plan (see Dkt. No. 17) — warrants the imposition of a bond as security for costs and fees. See

Selletti, 173 F.R.D. 96 at 102 (bond imposed where Plaintiff failed to engage in "meaningful

discovery").

       As discussed above, Sands' counsel misrepresented at the initial conference that Sands

had a licensing history for the Photos. While Sands' failure to abide by the terms of the Rule 16

scheduling order is by itself egregious enough to warrant the imposition of a bond for security, it

is not the only misrepresentation Sands or his counsel has made to this Court. The attorney




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appearing for Sands at the initial conference represented to the Court that she — not Richard

Liebowitz, who had signed Sands' Complaint, and who we were subsequently advised retains

ultimate authority over stipulations on Sands' behalf— was attending the conference as Sands'

"principal trial counsel" per the Court's rules. See also Fed. R. Civ. P. 16(c)(1). Yet when

Bauer's counsel sought her inputs for the schedule that the Court had ordered the parties to

jointly file by February 20, we were told that she was away. As a result, Bauer initially filed a

schedule request by itself. See Dkt. No. 12. More critically, the attorney who appeared for

Sands at the initial conference represented there that Sands had a licensing history of the Photos

that would be provided to Bauer. Keegan Decl. ¶4. Neither she, nor Mr. Liebowitz, nor the

other attorney that subsequently appeared for Sands honored that promise. Nor did Mr.

Liebowitz or the third attorney that appeared for Sands necessarily view the parties' discovery

plan as limited to written discovery as had been contemplated at the initial conference. Compare

Dkt. No. 12 ("In an effort to minimize costs in this action, we request the Court so-order a

schedule for written discovery"), with Dkt. No. 34, at 2 (Mr. Liebowitz claiming that Bauer did

not "bother to depose Mr. Sands"). Even if the original attorney returns as "principal trial

counsel" in the event this case is not dismissed, Bauer has been unfairly prejudiced by the

shifting representations of Sands' counsel.

       C.      Other Factors

       Sands' attorney's history of non-compliance with past court orders outside of this

litigation, as well as the prolific number of copyright infringement actions he has filed in this

District, 9 stress the need for security here. Sands' counsel has been ordered to do exactly that




9 The Liebowitz Law Firm has filed upwards of 700 actions asserting copyright infringement in
this District since 2016. Memorandum Opinion and Order (Dkt. 29), McDermott v. Monday

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under similar circumstances before more than one court in this District. Memorandum Opinion

and Order (Dkt. 29), McDermott v. Monday Monday, LLC, No. 17-cv-9230 (DLC) 208 WL

5312903, at *2 (S.D.N.Y. Oct. 26, 2018); Cruz, 2017 WL 5665657, at *2 n.11.

        In Cruz, this Court sua sponte ordered a photographer plaintiff — represented by the same

counsel as Sands is here — to show cause as to why he should not have to post a bond where

"there seem[ed] a reasonable possibility that [the defendant] will prevail on a fair use defense

and, moreover, that it would be entitled to recover costs, including attorneys' fees, in that event."

Id. at *2. The plaintiff in Cruz requested dismissal of the action from the Court before his show-

cause response was due. See No. 17-cv-8794, Dkt. No. 8 (memo endorsed Nov. 30, 2017).

Similarly, in the present action, there is a "reasonable possibility" that Bauer will prevail on its

meritorious fair use reporting defense, and it will likely recover costs and fees — particularly if

the Court precludes Sands from claiming a licensing history or value for the Photos, as discussed

above. Cruz, WL 2017 WL 5665657, at *2. The fair use reporting defense is just as strong in

the present action as it was in Cruz, especially in light of the fact that one of the Photos appeared

on the Ratajkowski Profile on the same day the promotional campaign was filmed. The

FHM.com article was about the way in which Ms. Ratajkowski was promoting her "secret

project" (advertising campaign) on social media. Her social media activity and the Photos that

were part of it were the news that FHM.com was reporting on.

       Another court in this District has found that a plaintiff's frustration of discovery

pertaining to a "central issue" in a copyright infringement case — namely, the value of the

plaintiff's photograph — favored a bond order under Rule 54.2. Baker, 2004 WL 2546805, at *2.




Monday, LLC, No. 17-cv-9230 (DLC) 2018 WL 5312903, at *1 (S.D.N.Y. Oct. 26, 2018); see
also Cruz, 2017 WL 5665657, at *2 n.11.

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The value of the Photos in this case likewise has been a "central issue" from the outset. Yet

Sands never produced any licensing history for the Photos, which his counsel promised at the

parties' initial conference; and during discovery, Sands produced zero evidence of ever having

licensed either Photo to anyone, or even offering either Photo for license. He therefore should be

precluded from asserting any effect of the Photos' appearance on FHM.com on a potential

licensing market. 10 17 U.S.C. § 107 (4).

       For example, in Pereira v. 3072541 Canada Inc., prior to the parties' initial conference,

the defendant's counsel informed the court that despite having advised plaintiff's counsel of

defendant's first-sale defense, plaintiff made an "entirely unreasonable" settlement demand in a

case that was demonstrably worth "less than $100" in actual damages. The court entered a

show-cause order following the initial conference, and plaintiff's counsel withdrew the action

without filing any show-cause response. See Pereira v. 307251 Canada Inc., No. 17-cv-6945

(RA), Dkt. No. 9-1 (Joint Letter) (S.D.N.Y. Nov. 27, 2017), Dkt. No. 16 (Order) (S.D.N.Y. Dec.

19, 2017), Dkt. No. 24 (Notice of Voluntary Dismissal) (S.D.N.Y. Jan. 4, 2018). See also

Reynolds v. Hearst Commc 'ns, Inc., No. 17-cv-6720 (DLC), 2018 WL 1229840, at *4 (S.D.N.Y.

Mar. 5, 2018) (noting Sands' counsel "has been labelled a copyright 'troll" and collecting

cases); Order, Steeger v. JMS Cleaning Services, LLC, No. 17-cv-8013 (DLC), Dkt. No. 17

(S.D.N.Y. Feb. 6, 2018).

       D.      Security of At Least $50,000 for Expected Costs and Attorneys' Fees is
               Appropriate

       The appropriate amount of a bond required under Rule 54.2 is in the sound discretion of

the trial court. See Beautiful Jewellers Private Ltd. v. Tiffany & Co., No. 06-cv-3085 (KMW),



10 The nature of any previous licenses for the Photos would also bear on the second fair use
factor; accordingly, Sands should be limited in that respect as well. 17 U.S.C. § 107(2).

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2008 WL 2876508, at *4 (S.D.N.Y. July 21, 2008); see also Kanongataa, 2017 WL 4776981, at

*3 (approving full amount of attorneys' fees requested). Bauer's costs and attorneys' fees in this

action have already exceeded $50,000. Requiring Plaintiff to post a $50,000 bond would secure

a material portion of the costs and attorneys' fees that Bauer would recover in the likely event it

prevails on its fair use defense. Such security is especially appropriate where the costs and fees

already accrued in this matter far outweigh the value of the case. Nor would the imposition of a

$50,000 bond materially affect Plaintiffs ability to prosecute its claims. Selletti, 173 F.R.D. at

103 ("[T]he amount of the bond should not "seriously impede" plaintiffs ability to prosecute the

action"; plaintiff ordered to post $50,000 security).

                                         CONCLUSION

       The Court should dismiss Sands' action against Bauer as a sanction under Fed. R. Civ. P.

16, 26 and 37. In the alternative, the Court should sanction Sands by striking portions of Sands'

testimony and evidence in support of summary judgment, and precluding him from asserting that

the Photos had any licensing history or value. And if the Court does not dismiss the action, it

should require Sands to show why, before proceeding, he should not have to post a bond under

Local Civil Rule 54.2 in the amount of $50,000.

Dated: November 2, 2018                       Respectfully submitted,
       New York, New York

                                                /s/ Terence P. Keegan
                                                Terence P. Keegan
                                                David S. Korzenik
                                              MILLER KORZENIK SOMMERS RAYMAN LLP
                                              The Paramount Building
                                              1501 Broadway, Suite 2015
                                              New York, New York 10036
                                              Tel (212) 752-9200
                                              dkorzenik@mkslex.com
                                              tkeegan@mkslex.com
                                              Attorneys for Defendant



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